                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA


 QUANTA POWER GENERATION, INC.,

                      Plaintiff(s),                  Case No. 3:16-cv-00163-TMB

        vs.
                                                   ORDER RE MOTION TO DISMISS
 STANTEC CONSULTING SERVICES,
 INC.,

                      Defendant(s).



              This matter having recently come before this Court,

              IT IS ORDERED that a motion pursuant to Fed. R. Civ. P. 12(b) is

discouraged if the defect can be cured by filing an amended pleading. Therefore, the

parties must meet and confer prior to the filing of a motion to dismiss to determine whether

it can be avoided. Consequently, motions to dismiss must be accompanied by a notice

of certification of conferral indicating that the parties have conferred to determine whether

an amendment could cure a deficient pleading, and have been unable to agree that the

pleading is curable by a permissible amendment. Motions to dismiss that do not contain

the required certification are subject to being stricken on the Court’s motion.

              IT IS FURTHER ORDERED that Plaintiff(s) serve a copy of this Order upon

any Defendant(s) that has not yet appeared and file notice of such service.

              DATED this 11th day of August, 2016.


                                                   /s/ TIMOTHY M. BURGESS
                                            CHIEF UNITED STATES DISTRICT JUDGE




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